      Case 4:22-cr-00085-RSB-CLR Document 1 Filed 06/09/22 Page 1 of 3




                      UNITED STATES DISTRICT COURT                              -73
                     SOUTHERN DISTRICT OF GEORGIA                      n c Q'STRi^f COU?J
                             SAVANNAH DIVISION
                                                                        mi        p 12: 5U
UNITED STATES OF AMERICA                    ) INDICTMENT NO.                 /l/l
                                            ^                         CLER:-\_L-XiC^ti£ii
             V.                             ) 18 U.S.C. § 922(g)     SO. DiHT. C 1 GA.
                                            ) Possession of a Firearm and
HARRY TELFAIR                               ) Ammunition by a Prohibited
                                            ) Person


THE GRAND JURY CHARGES THAT;
                                                            CR422 -00
                                                            ^      ^^
                                                                      85
                                   COUNT ONE
                     Possession of a Firearm and Ammunition
                              by a Prohibited Person
                               18 U.S.C. § 922(g)(1)

      On or about March 5, 2021,in Chatham County, within the Southern District of

Georgia, the defendant,

                                HARRY TELFAIR,

knowing he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one year, knowingly possessed a loaded firearm, to wit: a Bersa,

Model, Thunder, .380 caliber pistol, bearing serial number 537927, and .380 caliber

ammunition, which all had been transported in interstate commerce.

      All in violation of Title 18, United States Code, Section 922(g)(1).
       Case 4:22-cr-00085-RSB-CLR Document 1 Filed 06/09/22 Page 2 of 3




                          FORFEITURE ALLEGATION




       The allegations contained in Count One ofthis Indictment are hereby realleged

and incorporated by reference for purposes of alleging forfeitures pursuant to Title

18, United States Code, Section 924(d) and Title 28, United States Code, Section

2461(c).


       Upon conviction of the offense in violation of Title 18, United States Code,

Section 922(g)(1)set forth in Count One ofthis Indictment, the defendant,shall forfeit

to the United States pursuant to Title 18, United States Code, Section 924(d) and

Title 28, United States Code, Section 2461(c), any firearms and ammunition involved

or used in the commission of the offense, including a Bersa, Model, Thunder, .380

caliber pistol, bearing serial number 537927, and .380 caliber ammunition.

      All pursuant to Title 26, United States Code, Section 5872, and Title 28, United

States Code, Section 2461(c).
     Case 4:22-cr-00085-RSB-CLR Document 1 Filed 06/09/22 Page 3 of 3




                                        A True Bill.




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David H. Estes                         Tania D. Groover
United States Attorney                 Assistant United States Attorney
                                      *Lead Counsel




Patricia Rhodes
Assistant United States Attorney
Chief, Criminal Division
